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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION


 JILL DILLARD, JESSA SEEWALD                                                          PLAINTIFFS
 JINGER VUOLO, and JOY DUGGAR


 vs.                              CASE NO. 5:17-5089-TLB


 CITY OF SPRINGDALE, et al.                                                        DEFENDANTS



       BRIEF IN SUPPORT OF MOTION TO QUASH SUBPOENA DUCES TECUM

        Comes now the Arkansas Department of Human Services (“DHS”), by and through the

 undersigned attorney, and for its Brief in Support of its Motion to Quash Subpoena Duces Tecum

 pursuant to Fed. R. Civ. P. 45, states:

           The Subpoena Duces Tecum that Defendant has served on DHS is expressly subject to

 the confidentiality laws of the State of Arkansas. To the extent that any child maltreatment

 documentation exists and that such documentation is in the possession of DHS, the Arkansas Child

 Maltreatment Act applies. All reports of child maltreatment are confidential and may only be

 disclosed as provided in Ark. Code Ann. §§ 12-18-909 and 12-18-910. Unlawful disclosure of data

 or information subject to the Child Maltreatment Act is a Class A Misdemeanor. Ark. Code Ann.

 § 12-18-205(b).

           Both true reports of maltreatment and screened-out, administratively closed, and

 unsubstantiated reports of child maltreatment are confidential and may only be disclosed to the

 individuals and entities specifically described in their respective statutes under the Child

 Maltreatment Act. The list of exceptions to the confidentiality requirement of true reports of child
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 maltreatment is listed in Ark. Code Ann. § 12-18-909(g). The list of exceptions to the

 confidentiality of screened-out, administratively closed, and unsubstantiated reports of child

 maltreatment is listed in Ark. Code Ann. § 12-18-910(f). Nothing in the Child Maltreatment Act

 prevents the subject of the child maltreatment report from disclosing the matter. Ark. Code Ann.

 §§ 12-12-909(d)(4) and 12-12-910(d)(3).

           There is no exception to the Arkansas Child Maltreatment Act confidentiality

 requirement for Defendant, and Defendant has not asserted to DHS that it falls under any of the

 delineated exceptions to the confidentiality requirement. DHS has a duty to maintain the

 confidentiality of any child maltreatment report, should any such report exist, as required by state

 law. On timely motion, the Court for the district where compliance is required must quash or

 modify a Subpoena that requires disclosure of privileged or other protected matter, if no exception

 or waiver applies. Fed. R. Civ. P. 45(d)(3)(A)(iii). DHS is asking that the Subpoena served on it

 by Defendant be quashed. Defendant is not seeking to protect children from abuse or neglect with

 the release of this documentation, should it exist, but instead seeks to defend itself against a lawsuit

 whereby the Plaintiffs allege that Defendants released confidential information that they should

 not have released.

           DHS reached out to Defendant after receiving the Subpoena Duces Tecum to explain

 why compliance with the Subpoena Duces Tecum could cause DHS to violate the Arkansas Child

 Maltreatment Act should any documents subject to the Act exist.

           If this Court orders DHS to comply with the Subpoena, DHS requests that the name of

 any person who made a child maltreatment report, should any such report exist, be redacted

 pursuant to Ark. Code Ann. §§ 12-18-909(c)(1) and 12-18-910(c)(1).
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                               Respectfully submitted,

                               Arkansas Department of Human Services
                               Office of Chief Counsel


                               By:     /s/ Skye Martin
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                                 CERTIFICATE OF SERVICE

         I, Skye Martin, Attorney for the Arkansas Department of Human Services, do hereby
 certify that on this 16th day of August, 2021, I electronically filed the above Brief in Support of
 Motion to Quash using the CM/ECF System which shall send notification of such filing to all
 counsel of record.


                                                             /s/ Skye Martin_____________
                                                             Skye Martin, Ark. Bar No. 2012161
